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 4
     Attorney for Defendant, Ribhi Fadel Abdel Fattah,
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 7
                         IN THE UNITED STATES DISTRICT COURT FOR THE
 8
                                  EASTERN DISTRICT OF CALIFORNIA
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10                                                  )
     UNITED STATES OF AMERICA,                      ) Case No.: 1:10-cr-00173 AWI
11                                                  )
                     Plaintiff,                     )
12                                                  ) STIPULATION REGARDING STATUS
            vs.                                     ) CONFERENCE DATE
13                                                  )
     RIBHI FADEL ABDEL FATTAH,                      )
14                                                  )
                     Defendant                      )
15
            IT IS HEREBY STIPULATED by and between Jeffrey T. Hammerschmidt, attorney for
16
     defendant RIBHI FADEL ABDEL FATTAH, and Karen Escobar, Assistant United States
17
     Attorney, that the status conference be advanced from January 24, 2011, at 9:00 a.m., to January
18
     3, 2011, at 9:00 a.m.
19
            .
20
     Dated: December 29, 2010                            Respectfully submitted,
21

22
                                                         /s/ Jeffrey T. Hammerschmidt
                                                         Jeffrey T. Hammerschmidt
23                                                       Attorney for Defendant,
                                                         Ribhi Fadel Abdel Fattah
24

25
     Dated: December 29, 2010                            /s/ Karen Escobar
26                                                       Karen Escobar
                                                         Assistant U.S. Attorney
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                                  Case 1:10-cr-00173-JLT Document 69 Filed 01/03/11 Page 2 of 2



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 3
                                                             ORDER
 4
            IT IS ORDERED that the January 24, 2011 Status conference date be vacated.
 5
            IT IS ORDERED that the status conference will now occur on January 3, 2011 at 9:00
 6
     a.m.
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 9   IT IS SO ORDERED.
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     Dated: December 31, 2010
11          DEAC_Signature-END:
                                                       CHIEF UNITED STATES DISTRICT JUDGE

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